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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                           :
CHERYL ZONDLO,                             :
                                           :
                   Plaintiff,              :      No. 3:16-cv-00936-JMM
                                           :
            v.                             :
                                           :
ALLIED INTERSTATE, LLC,                    :
                                           :
                   Defendant.              :
                                           :

         DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

      Defendant, Allied Interstate LLC (“Allied”), hereby moves pursuant to Fed.

R. Civ. P. 56 for the entry of summary judgment in its favor and against Plaintiff,

Cheryl Zondlo, and dismissing Plaintiff’s claims with prejudice.

      In support of its motion, Allied incorporates by reference the accompanying

Statement of Undisputed Material Facts and exhibits thereto, Declaration of

Martha Koehler, and the supporting Memorandum of Law.

      A proposed form of Order is attached.




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                             Respectfully submitted,


                             /s/ Andrew K. Stutzman
                             Andrew K. Stutzman
                             Brandon R. Gamble
                             Stradley Ronon Stevens & Young, LLP
                             2005 Market Street, Suite 2600
                             Philadelphia, PA 19103
                             Phone: (215) 564-8000
                             Facsimile: (215) 564-8120

                             Attorneys for Defendant,
                             Allied Interstate LLC




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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                                :
CHERYL ZONDLO,                                  :
                                                :
                      Plaintiff,                :     No. 3:16-cv-00936-JMM
                                                :
             v.                                 :
                                                :
ALLIED INTERSTATE, LLC,                         :
                                                :
                      Defendant.                :
                                                :

     DEFENDANT’S STATEMENT OF UNDISPUTED MATERIAL FACTS

      Pursuant to Fed. R. Civ. P. 56, Defendant, Allied Interstate LLC (“Allied”),

submits the following Statement of Undisputed Material Facts in support of its Motion

for Summary Judgment:

                  Zondlo’s Store Credit Cards Serviced by Synchrony Bank
      1.     Plaintiff, Cheryl Zondlo (“Zondlo”), has, at times, had five separate

accounts with non-party Synchrony Bank (“Synchrony”) or its predecessors with regard

to large retailer programs. (See Exhibit A, Declaration of Martha Koehler (“Koehler

Dec.,” at ¶ 3.)

      2.     Plaintiff had private label credit card accounts with The GAP, JCPenney,

and American Eagle Outfitters. (See id.; Exhibit B, Deposition Transcript of Cheryl

Zondlo (“Zondlo Dep.”), at 59:20 – 60:7, 61:11-15.)




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      3.      More specifically, in May 2005, Zondlo applied for and was approved for a

private label credit card account with JCPenney (“JCP”), Acct. No. xxxx0407 (the “JCP

Account”). (See Ex. A, Koehler Dec. at ¶ 4.) The main customer service number for

the JCP program is 1-800-527-3369. (Id.)

      4.      In October 2013, Zondlo applied for and was approved for a GAP credit

card account with Synchrony (Acct. No. xxxx4896) (the “GAP Account”). (See id. at ¶

5.) The main customer service number for the GAP program is 1-888-248-3182. (Id.)

      5.      In June 2013, Zondlo applied for and was approved for an American Eagle

Outfitters VISA (“AEO VISA”), Acct. No. xxxx9305 (the “AEO Account”). (See id. at

¶ 7.) The main customer service number for the AEO VISA program was 1-866-913-

6765. (Id.)

      6.      Zondlo made separate payments on each of these accounts. For instance,

when making her payments on-line (as was her custom), Zondlo had to log-in separately

to each account, with unique passwords for each account. (See Ex. B, Zondlo Dep.,

61:16 – 62:9, 63:2-10.) In other words, when making payments, Zondlo did not make

any joint payment to Synchrony to be credited to all three credit card accounts.

      7.      Zondlo eventually began to experience certain financial difficulties and fell

behind on her payments on the Gap, JCP and AEO Accounts, as well as other credit

card accounts. (See Ex. B, Zondlo Dep., 51:14 – 52:5; Ex. A, Koehler Dec. at ¶¶ 3-5, 7-

8.)


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                              Zondlo’s Telephone Numbers
      8.      During the relevant period of time, Zondlo primarily used two telephone

numbers: XXX-XXX-3231 (the “3231 Cell Number”), which was assigned to a cellular

telephone (a Galaxy smart phone) (see Ex. B, Zondlo Dep., 19:2-10, 23:8-25.); and

XXX-XXX-9301 (the “9301 Landline Number”) (see id., 18:3-10.), which at least until

sometime in November, 2015, was assigned to a stationary landline telephone located in

her home (see id., 20:18 - 21:4, 31:1-4).

      9.      Zondlo’s employer paid for her cell phone since at least 2014. (See id.,

25:19-25, 28:4-12.)

      10.     Zondlo primarily used her 3231 Cell Number for personal use and

sometimes for business. (See id., 24:24 – 25:5.)

      11.     She generally did not use the 9301 Landline Number, except for calls from

telemarketers and for people “she doesn’t know.” (See id., 39:16-25.)

                 Zondlo Provides Permission to Synchrony to Call Her
      12.     Prior to October, 2015, Zondlo believes she had provided Synchrony with

permission to call her on both the 3231 Cell Number and the 9301 Landline Number.

(See id., 64:15 – 65:3, 65:25 – 66:19 .)

      13.     In fact, according to Synchrony’s business records, Zondlo provided the

9301 Landline Number to Synchrony in connection with JCP Account on or about May




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12, 2005. (See Ex. A, Koehler Dec., ¶ 4; see also Ex. B, Zondlo Dep. at Ex. Zondlo-2,

p.1.)

        14.     On October 11, 2013, Zondlo provided the 9301 Landline Number to

Synchrony in connection with her Gap Account. (See Ex. B, Zondlo Dep., 71:4 –

72:13; see also Ex. A, Koehler Dec., ¶ 5; Ex. A, Zondlo Dep. at Ex. Zondlo-2, p.3.)

        15.     On January 28, 2014, Zondlo provided the 3231 Cell Number to Synchrony

in connection with her JCP Account. (See Ex. B, Zondlo Dep., 67:14 – 69:15; see also

Ex. A, Koeher Decl., ¶ 4; Ex. B, Zondlo Dep. at Exhibit Zondlo-2, p.2.)

                Synchrony Places the GAP And JCP Accounts (But Not The
                        AEO Account) With Allied For Collection
        16.     On or about September 15, 2015, because Zondlo was not paying the debt

as agreed, Synchrony placed Zondlo’s GAP account with Allied for collections. (See

Ex. A, Koehler Dec. at ¶ 5.)

        17.     Allied, thereafter, began to make calls to Zondlo on her 9301 Landline

Number in an attempt to collect the outstanding debt on the GAP Account. Allied never

called Zondlo on the 3231 Cell Number regarding the GAP Account. (See Exhibit C,

Allied’s Responses to Plaintiff’s Interrogatories (“Interrog. Resp.), at No. 13

(identifying calls placed to Zondlo’s GAP Account, Acct. xxxx4896 and reflecting no

calls to the 3231 Cell Number).)




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      18.     On or about October 19, 2015, because Zondlo was not paying the debt

under the account as agreed, Synchrony placed the JCP Account with Allied for

collections. (See Ex. A, Koehler Dec. at ¶ 4.)

      19.     Allied, thereafter, began to place calls to Zondlo on her the 9301 Landline

and 3231 Cell Numbers in an attempt to collect the outstanding debt on the JCP

Account. (See Ex. C, Interrog. Resp., at No. 13 (identifying calls placed to Zondlo’s

JCP Account, Acct. xxxx0407).)

      20.     The AEO VISA Account was not placed for collection with Allied. (See

Ex. A, Koehler Dec. ¶¶ 3 and 8; see also Exhibit D, Deposition Transcript of Daniel

Montenaro (“Montenaro Dep.”), at 154:24 – 155:3.)

      21.     At the time of placement with Allied of the GAP Account and the JCP

Account, Synchrony did not indicate to Allied that consent to call either the 9301

Landline Number or the 3231 Cell Number had been revoked or that either number

should be dialed manually. (See Ex. A, Koehler Dec., ¶ 4-5.)

               Zondlo Obtains a “Script” From Her Counsel, But Only
              Purports to Revoke Consent as to The AEO VISA Account;
              She Does Not Revoke Consent to Allied at All and Does Not
                   Revoke Consent on The GAP and JCP Accounts.

      22.     In September, 2015, Zondlo consulted with an attorney at the Sabatini Law

Firm (counsel for Plaintiff in this action), purportedly relating to her financial

difficulties and the possibility of filing for bankruptcy. (See Ex. B, Zondlo Dep., 10:15 –

11:17.)

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       23.     To date, however, Zondlo has not filed for bankruptcy. (See id., 12:2-4.)

       24.     After obtaining advice of counsel, it appears Zondlo engaged in a strategy

to apparently solve her financial difficulties through setting up certain of her creditors to

be sued for violations of the TCPA.

       25.     On October 5, 2015, she began to log calls she was receiving on her 3231

Cell Number using a “call log” form provided by counsel. (See id., 85:1 – 86:4, 88:17-

21, 91:7-10; see also id. at Ex. Zondlo-3; see Exhibit E, Call Log.)

       26.     She also was instructed to read “word for word” from a script provided by

her counsel to revoke consent to the “original creditor,” and not the “debt collector”

(such as Allied). (See Exhibit F, Script.) In fact, the section for the “debt collector”

portion of the script was crossed out, even though Zondlo was receiving calls from

Allied on her GAP account at that time. (Id.)

       27.     Accordingly, on October 7, 2015, Zondlo placed a call to the telephone

number associated with her AEO VISA Account, 1-866-913-8479, and reached the

Collection department for the AEO VISA program. (See Ex. B, Zondlo Dep., 8:12 –

9:1, 83:2-5; see Ex. A, Koehler Dec. at ¶ 8; see Ex. F, Script.)

       28.     Zondlo admits that she got the number to call from an AEO mailing, that

the telephone number she called was attached to the AEO account, and that the agent

she spoke to specifically referenced her AEO account. (See Ex. B, Zondlo Dep. 75:4-

23.)


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      29.     Zondlo received the standard opening that included “How can I help you

with your American Eagle Visa card?”. (See Ex. A, Koehler Dec. at ¶ 8; see Exhibit G,

Transcript of 10/7/2015 Recorded Call.)

      30.     In response to that question, Zondlo asked about her balance owing

($292.44) and the application of interest on her AEO VISA account and methods of

contacting her. (See Ex. A, Koehler Dec. ¶ 8; see Ex. G, 10/7/2015 Call Transcript, 3:2-

4.)

      31.     At no time during the call did Zondlo or the agent reference specifically

either the GAP or the JCP Accounts. (See Ex. B, Zondlo Dep. 82:15-23; see generally

Ex. G, 10/7/2015 Call Transcript.) She did not ask to be transferred to the customer

service number for any of these other credit card programs.

      32.     Zondlo followed her “script” during this call (see Ex. B, Zondlo Dep.,

77:16 – 78:19). For example, she referenced to her spouse in the call, even though she

had been divorced since 2007. (See Ex. G, 10/7/2015 Call Transcript, 3:5-7; see also

Ex. B, Zondlo Dep., 77:7-15.)

      33.     Zondlo documented this October 7th call to Synchrony in a form provided

by her counsel, which specifically indicated the Creditor/Collector being called as:

“American Eagle Credit Card.” (See, Ex. F, Script.) Zondlo noted the telephone

number she had called (866-913-8479), the balance on the account ($292.44), and the

account number (ending in x9305). (Id.) All of this information (the telephone number


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Zondlo called, the account balance, and the account number) pertained only to the AEO

VISA Account with Synchrony, and not the GAP or JCP Accounts subject to Allied’s

collection calls.

      34.    Zondlo did not place any other call to Synchrony specifically in connection

with her GAP Account or her JCP Account. (See Ex. B, Zondlo Dep., 82:8 – 83:1.)

      35.    Zondlo also did not send any written notification to Synchrony stating that

it did not have permission to contact her by telephone. (See id., 73:8-11.)

      36.    She also did not place any call directly to Allied in an attempt to revoke

consent, even though as of September, 2015, Allied already had started to place

collection calls to her on the 9301 Landline Number with respect to her Gap Account.

(See Ex. B, Zondlo Dep., 9:2-4.)

      37.    Zondlo also did not send any written notification to Allied at any time

advising that it no longer had permission to contact her by telephone. (See Ex. B,

Zondlo Dep., 73:8-11.)

      38.    In response to Zondlo’s October 7th call on the AEO VISA Account,

Synchrony placed a notation in the AEO VISA account records that Zondlo should not

be contacted by cell phone or automated dialer. (See Ex. A, Koeher Dec. ¶ 8.)

      39.    Synchrony, however, did not place any such notation on either the GAP

Account or the JCP Account.




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      40.    There is no evidence that Synchrony informed Allied about any purported

denial of mobile consent with respect to the GAP Account previously placed with Allied

in September, 2015.

      41.    Nor did Synchrony indicate any denial of mobile consent to Allied when

later placing the JCP Account with Allied on October 15, 2015.

      42.    Synchrony concedes that this information was not provided to Allied,

“because Ms. Zondlo’s AEO VISA account was not placed with collection with Allied

Interstate.” (Ex. A, Koehler Dec. at ¶ 8.)

               Zondlo Calls Allied, But Does Not Revoke Any Consent
      43.    On October 19, 2015, Zondlo saw a missed call on her phone and called it

back. (See Ex. B, Zondlo Dep., 109:25 – 111:2.)

      44.    During this call, the representative thanked Zondlo for calling Allied. They

discussed that Zondlo was receiving calls on her 3231 Cell Number from Allied with

respect to her JCP Account and that Allied was placing these calls as a third party debt

collector on behalf of Synchrony. (Zondlo at no time mentioned any calls being placed

to her by Allied to her 9301 Landline Number with respect to the GAP account.) (See

Exhibit H, 10/19/2015 Call Transcript.)

      45.    Zondlo stated “the purpose of [her] call was just to see who was calling

[her]” and that she would give them a call back at a later time. She then hung up. (See

Ex. B, Zondlo Dep., 113:8-12.)



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       46.   At no time during the October 19th call to Allied did Zondlo direct Allied to

stop calling her; advise that Allied’s calls were harassing or inconvenient; or state that

they did not have permission to call her. (See id., 113:23 – 114:10.)

       47.   Zondlo also did not call Allied back as she had promised. (See id., 113:17-

20.)

       48.   Zondlo testified that there was “no particular reason” for not calling Allied

back. (See id., 113:21-22.)

       49.   Although Zondlo claims she wanted calls from Allied to stop, she did not

ever, at any time, tell Allied or any representative of Allied to stop calling her, in any

way, shape, or form.

       50.   In fact, Zondlo unknowingly called Allied again on January 14, 2016, but

hung up after the representative identified that the Zondlo had reached Allied. (See

Exhibit I, 1/16/2016 Call Transcript.)

               Zondlo “Ports” Her Landline to a Wireless Telephone
              Network, But Does Not Revoke Consent to That Number.
       51.   A few weeks after her calls to Synchrony and to Allied, and at a time that

she was represented by counsel, Zondlo allegedly decided to “bundle” her 9301

Landline Number into a “friends and family plan” with Verizon Wireless, in which her

number would be assigned to a wireless home network. (See Ex. B, Zondlo Dep., 16:25

– 18:2, 32:19 - 33:1, 37:7 – 38:3.)




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      52.    Zondlo, however, was not the subscriber for this account.             Instead,

Zondlo’s sister, Brenda Panzak, was the account-holder. (See id., 32:10-18.)

      53.    Although the 9301 Landline Number allegedly was reassigned to a wireless

home network, the telephone equipment remained the same—a stationary telephone that

remained in Zondlo’s house. (See id., 34:21 – 35:2, 36:17 – 37:1, 38:7 – 39:12.)

      54.    Zondlo admits that she did not tell anyone that her 9301 Landline Number

had been ported to a wireless network. (See id., 40:9-15, 72:14-18.)

      55.    In her deposition, Zondlo could not identify the specific date on which her

9301 Landline Number was ported (see id., 31:15-24), nor has she produced any

evidence demonstrating the date of the alleged reassignment of the 9301 Landline

Number to a wireless network.

      56.    Zondlo did not ever revoke consent as to calls made to the 9301 Landline

Number in connection with her GAP or JCP Accounts.

               Zondlo Sustained no Actual Harm Relating to the Calls
                              Received From Allied.
      57.    When asked about how she had been harmed by the calls from Allied,

Zondlo contended that it was “harassment” and “a lot of calls”, but that was the extent

of her “personal damage.” (See id., 114:18 – 115:1.)

      58.    Zondlo admitted she did not obtain any medical assistance, medication, or

mental health or psychiatric counseling or treatment. (See id., 115:10-20; see also id. at

Ex. Zondlo-1, p.3-4, ¶¶ 12-15.)

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      59.    She also admitted that she did not actually pick up any of the calls placed

by Allied. (See id., 115:21-24.)

      60.    Instead, her practice to “log” the calls she received was to look at the

“missed calls” appearing on her telephone at the end of the week, and then add them to

her call log. (See id., 90:21 – 91:6.)

      61.    In fact, sometimes Zondlo waited so long to transcribe the calls from her

phone to the Call Log that the “missed calls” would have cycled out of the missed call

log on her phone. (See id., 95:4-23.)

      62.    She could not identify which entity, including Allied, the phone numbers

on the call log belonged to. (See id., 91:21 – 92:4, 108:2-16, 115:3-9.)

      63.    Similarly, she also could not identify which entities corresponded to the

various phone numbers on the Verizon Wireless bill for the 9301 Landline Number.

(See id., 97:10 – 98:7.)

      64.    She could not identify which of the calls placed by Allied she even heard

ringing. (See id., 95:24 – 96:10.)

      65.    Zondlo agreed that her alleged damages would have been the same had the

calls been placed from a rotary phone. (See id., 116:15 – 117:2.)

      66.    Indeed, it does not appear Zondlo has sustained any injury or harm at all.

      67.    To the contrary, Zondlo never took any action to stop the calls being

received from Allied.


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      68.      Zondlo – who was represented by counsel throughout this entire time

period – was apparently content to allow the calls to continue for several months.

      69.      Other than the alleged call to Synchrony on October 7th, she never took any

action whatsoever to have the calls cease during this approximately four-month period

of time.

      70.      In fact, the only reason the calls appear to have ceased when they did in

January, 2016, is due to Synchrony’s sale of the accounts to a third party debt buyer.

      71.      Several months later, Zondlo filed her Complaint against Allied in

Lackawanna County Court of Common Pleas, which Allied then removed to this Court.

      72.      For ease of reference, the key facts discussed above are summarized in the

chart below:

     Date                                           Event
5/12/2005           Zondlo provides 9301 Landline Number to Synchrony in connection
                    with JCP Account.
10/11/2013          Zondlo provides 9301 Landline Number to Synchrony in connection
                    with Gap Account.
1/28/2014           Zondlo provides 3231 Cell Phone Number to Synchrony in
                    connection with JCP Account.
9/15/2015           Synchrony places Gap account with Allied for collections; Allied
                    begins to place calls to Zondlo on 9301 Landline Number that Zondlo
                    previously provided to Synchrony.
9/2015              Zondlo consults and retains Sabatini Law Firm.
10/5/2015           Zondlo begins to log calls received on 3231 Cell Phone Number on a
                    “call log” provided by Sabatini Law Firm.
10/7/2015           Zondlo calls Synchrony in connection with AEO Account and reads
                    script provided by Sabatini Law Firm, in which she purports to
                    revoke consent to call on “any” number for “any” account.
10/15/2015          Synchrony places JCP Account with Allied for collection.


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     Date                                          Event
10/19/2015        Allied begins to place calls to Zondlo in connection with JCP
                  Account on both 3231 Cell Phone Number and 9301 Landline
                  Number, which Zondlo previously provided to Synchrony.
10/19/2015        Zondlo places call to Allied; representative confirms Allied is third
                  party debt collector calling on behalf of Synchrony in connection
                  with JCP Account and that Zondlo is receiving calls on 3231 Cell
                  Phone Number; Zondlo states she is only checking who was placing
                  calls and will call back later.
11/2015           Zondlo (at a time she is represented by counsel) allegedly “ports”
                  9301 Landline Number to home wireless network as part of “friends
                  and family plan” with Verizon Wireless. Zondlo does not tell
                  Synchrony or Allied that number has been ported, and does not tell
                  Synchrony or Allied not to call her on this number.
1/14/2016         Zondlo calls Allied but hangs up after she is informed that she has
                  reached Allied.
1/24/2016         Zondlo’s account is sold to third party debt buyer; all calls cease.
4/2016            Zondlo files Complaint in Lackawanna County Court of Common
                  Pleas against Allied.




                                      Respectfully submitted,

                                      /s/ Andrew K. Stutzman
                                      Andrew K. Stutzman
                                      Brandon R. Gamble
                                      Stradley Ronon Stevens & Young, LLP
                                      2005 Market Street, Suite 2600
                                      Philadelphia, PA 19103
                                      Phone: (215) 564-8000
                                      Facsimile: (215) 564-8120

                                      Attorneys for Defendant,
                                      Allied Interstate LLC




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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                           :
CHERYL ZONDLO,                             :
                                           :
                  Plaintiff,               :     No. 3:16-cv-00936-JMM
                                           :
            v.                             :
                                           :
ALLIED INTERSTATE, LLC,                    :
                                           :
                  Defendant.               :
                                           :

                 DEFENDANT’S BRIEF IN SUPPORT OF ITS
                  MOTION FOR SUMMARY JUDGMENT

I.    INTRODUCTION

            Plaintiff, Cheryl Zondlo (“Zondlo” or “Plaintiff”), improperly seeks to

recover significant damages under the Telephone Consumer Protection Act, 47

U.S.C. 227, et seq. (the “TCPA”), based on several contrived events that were

orchestrated by Plaintiff and her counsel apparently in an attempt to create TCPA

liability. Zondlo held several private label credit card accounts with Synchrony,

which went into default sometime in the fall of 2015. Synchrony, a non-party in

this action, placed two of those accounts (JCPenney and GAP store credit cards)

with Defendant, Allied Interstate LLC (“Allied”) for collection, and provided

Allied with Zondlo’s contact numbers (a cell phone and a landline number), which

she previously herself had provided to Synchrony. After Allied began to place
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certain calls to Zondlo, and at a time that she was represented by her current

counsel in this case, Zondlo placed a call to Synchrony (and not Allied) with

respect to a third credit card account (an American Eagle Outfitters VISA card), in

which she purported to revoke her consent to be contacted at any number and on

any account. Although neither Zondlo nor Synchrony ever communicated any

alleged revocation to Allied, Zondlo nonetheless claims that Allied somehow is

liable under the TCPA when it continued to place calls to both her cell phone and

landline number – which she later “ported” to a wireless telephone network. As

discussed below, Plaintiff has failed to meet her burden to demonstrate any claim

against Allied under the TCPA.

            First, Zondlo cannot demonstrate that Allied placed calls without her

prior express consent. Indeed, Zondlo essentially concedes that she previously had

consented to Synchrony contacting her at both telephone numbers in connection

with the accounts placed with Allied for collection. Allied is entitled to rely on

such consent.

            Second, although Zondlo will contend that she revoked such consent

during an October 7, 2015, telephone call with Synchrony concerning her

American Eagle Outfitters VISA, Zondlo simply did not communicate any clear

and unambiguous revocation during that phone call as to her GAP and JCPenney

card accounts, and she never communicated any revocation at all directly to Allied.


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Moreover, any alleged revocation made in October, 2015 (which Allied denies)

had no impact on Allied’s ability to call Zondlo on the number that, at the time,

was associated with a landline.

             Third, and finally, Zondlo has failed to put forth any evidence that she

suffered an injury in fact or is within the zone of interests protected by the TCPA –

a necessary showing to establish standing to assert a claim under the TCPA.

Instead, the calls appear to have been wanted by Zondlo. She took circuitous

actions with Synchrony, in which she avoided specifically revoking consent as to

the two accounts at issue (JCP and GAP), and she intentionally took no action at

all as to Allied to make the calls stop. Instead, Zondlo and her counsel appear to

have attempted to manufacture a claim simply in order to collect damages under

the TCPA. Such tactics should be rejected by this Court.

II.   PROCEDURAL HISTORY

             On or about April 19, 2016, Cheryl Zondlo (“Zondlo” or “Plaintiff”),

commenced this action against Allied by filing a Complaint in the Court of

Common Pleas for Luzerne County. On May 19, 2016, Allied removed the case to

this Court. Allied filed an Answer and Defenses to Plaintiff’s Complaint on June

10, 2016.

             The parties have exchanged written discovery and have taken various

depositions. Discovery in this case is now closed.


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III.    STATEMENT OF FACTS

              Allied incorporates its Statement of Undisputed Material Facts as if

set forth, at length, herein.

IV.     STATEMENT OF THE QUESTIONS INVOLVED

              Whether Allied is entitled to summary judgment as to Plaintiffs’

single claim under the TCPA where there are no genuine issues as to any material

fact.

              Suggested Answer:       YES.

V.      ARGUMENT

        A.    Applicable Legal Standard on Summary Judgment

              Under Rule 56 of the Federal Rules of Civil Procedure, summary

judgment is appropriate where “there is no genuine issue as to any material fact

and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).

The party moving for summary judgment has the initial burden of informing the

court of the basis for the motion and identifying those portions of the record that

demonstrate the absence of a genuine issue of material fact. Celotex Corp. v.

Catrett, 477 U.S. 317, 323 (1986). “A disputed fact is ‘material’ if it would affect

the outcome of the suit as determined by the substantive law.” Gray v. York

Newspapers, Inc., 957 F.2d 1070, 1078 (3d Cir. 1992) (citing Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248 (1986)). For a dispute to qualify as “genuine,” the


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evidence must be such that “a reasonable jury could return a verdict in favor of the

nonmoving party.” Anderson, 477 U.S. at 248. “Once the moving party has

produced evidence in support of summary judgment, the non-moving party must

go beyond the allegations set forth in its pleadings and counter with evidence that

presents ‘specific facts showing that there is a genuine issue for trial.’” DiSantis v.

Morgan Props. Payroll Servs., Inc., 2010 WL 3606267, at *4 (E.D. Pa. Sept. 16,

2010) (quoting Fed. R. Civ. P. 56); see also Big Apple BMW, Inc. v. BMW of N.

America Inc., 974 F.2d 1358, 1362-63 (3d Cir. 1992).

      B.     The TCPA

             The TCPA’s provisions relevant to this case are set forth in 47 U.S.C.

§ 227(b)(1), which provides, in pertinent part:

             It shall be unlawful for any person within the United States, or
             any person outside the United States if the recipient is within
             the United States --

             (A) to make any call (other than a call made for emergency
             purposes or made with the prior express consent of the called
             party) using any automatic telephone dialing system or an
             artificial or prerecorded voice --

                                          …

             (iii) to any telephone number assigned to a paging service,
             cellular telephone service, specialized mobile radio service, or
             other radio common carrier service, or any service for which
             the called party is charged for the call, unless such call is made
             solely to collect a debt owed to or guaranteed by the United
             States.



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47 U.S.C. § 227(b)(1). To establish a violation of the TCPA, a plaintiff must

prove: (1) that a call was placed to a cellular or wireless phone, (2) by the use of an

automatic telephone dialing system and/or leaving an artificial or prerecorded

message; (3) without the prior consent of the recipient.          Hossfeld v. Gov’t

Employees Ins. Co., 88 F. Supp. 3d 504, 509 (D. Md. 2015) (citing Kristensen v.

Cr. Payment Servs., 12 F. Supp. 3d 1292, 1300 (D. Nev. 2014); Wagner v. CLC

Resorts & Devs., Inc., 32 F. Supp. 3d 1193, 1195 (M.D. Fla. 2014)).

             The TCPA provides for actual monetary damages or a $500 statutory

damages award for each violation, whichever is greater.            See 47 U.S.C. §

227(b)(3). The TCPA also allows for a heightened award in a court’s discretion,

up to an award of treble damages, for “willful” or “knowing” violations of the

TCPA. Id. There is no specific test for when treble damages can be awarded; such

an award is discretionary. See Melrose Hotel Co. v. St. Paul Fire & Marine Ins.

Co., 432 F. Supp. 2d 488, 493 (E.D. Pa. 2006).

      C.     There is no Genuine Issue That Plaintiff Provided The Subject
             Telephone Numbers to Her Creditor, Synchrony, And That Allied
             Was Entitled to Rely on This Prior Express Consent to Contact
             Plaintiff.
             Prior express consent from a consumer for autodialed calls is a

defense to liability. See Cartrette v. Time Warner Cable, Inc., 2016 WL 183483

(E.D.N.C., Jan. 14, 2016 (“prior express consent is an affirmative defense to

liability under the TCPA”); Penn v. NRA Group, LLC, 2014 WL 2986786 (D. Md.


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Jul. 1, 2014) (granting summary judgment under the TCPA in favor of debt

collector for calls to consumer’s cellular telephone). A party grants prior express

consent to receive calls on a cellular phone by providing the telephone number

associated with that cellular phone account to another party, such as a creditor.

Kenny v. Mercantile Adjustment Bureau, LLC, 2013 WL 1855782, *6 (W.D.N.Y

May 1, 2013) (“[T]he provision of a cell phone number to a creditor, e.g., as part of

a credit application … evidences prior express consent … to be contacted at that

number regarding the debt.”).

             Here, Zondlo testified that she believes she provided the original

creditor, Synchrony, with both of the telephone numbers at issue. (See Exhibit B,

Deposition Transcript of Cheryl Zondlo (“Zondlo Dep.”), at 64:15-65:3, 65:25-

66:19.) Specifically, Zondlo testified as follows:

      Q:     Would you agree with me that at some point in time you
             provided Synchrony…with your cell phone number…and
             [landline number]?

      A:     That is a possibility, yes.

      Q:     Do you think it occurred before September 2015?

      A:     Yes.

                                 *         *         *




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      Q:    So it is your understanding based on that response [to Request
            for Admission Number 4] that you’re admitting to providing the
            9301 number to Synchrony Bank?

      A:    Yes.

            Plaintiff’s recollection is further confirmed by the records produced

by Synchrony in this action. First, Zondlo provided her XXX-XXX-9301 landline

telephone number (the “9301 Landline Number”) to Synchrony in connection with

her JCPenney credit card account (the “JCP Account”), on or about May 12, 2005.

(See Exhibit A, Declaration of Martha Koehler (“Koehler Dec.”), at ¶ 4; see also

Ex. B, Zondlo Dep. at Ex. Zondlo-2, p.1), and she later provided the XXX-XXX-

3231 (the “3231 Cell Number”), which was assigned to a cellular telephone (a

Galaxy smart phone), on January 28, 2014. (See Ex. B, Zondlo Dep., 67:14-69:15;

see also Ex. A, Koehler Dec. ¶ 4; Ex. B, Zondlo Dep. at Ex. Zondlo-2, p.2.) With

respect to the GAP account (the “GAP Account”), Plaintiff gave consent to

Synchrony to call the 9301 Landline Number on October 11, 2013. (See Ex. B,

Zondlo Dep., 71:4-72 and Ex. Zondlo-2, p.3.)

            Allied, as a third party debt collector for Synchrony, is entitled to rely

on the provision of these telephone numbers by Plaintiff to Synchrony.            See

Zarichny v. Complete Payment Recovery Systems, Inc., 80 F. Supp. 3d 610, 620

(E.D. Pa. 2015) (citing In re Rules and Regulations Interpreting Tel. Consumer

Prot. Act of 1991, Request of ACA, Int’l for Clarification & Declaratory Ruling,


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23 FCC Rcd. 559, 565 (Dec. 28, 2007) (prior consent originating with a creditor is

transferred to a third party debt collector because “[c]alls placed by a third party

collector on behalf of that creditor are treated as if the creditor itself placed the

call”.)). Indeed, while discussing the burden of a creditor/debt collector to prove

the plaintiff’s consent to be called, the FCC’s conclusion that calls placed by a

third party collector on behalf of creditor are treated as if the creditor itself placed

the call is demonstrative of that debt collector’s ability to rely on express consent

given to the original creditor. FCC Ruling, 23 FCC Rcd. at 565. (See also Stauffer

v. Navient Solutions, LLC, Civ. Action No. 1:15-cv-1542, 2017 WL 959227, *6,

FN 5 (M.D. Pa. March 13, 2017) (“courts have held that the FCC’s reference to

consent ‘provided by the consumer to the creditor” does not restrict a creditor from

later turning a telephone number over to a debt collector for debt-related calls.)

(Emphasis original.)

             In sum, there can be no dispute that Allied had prior express consent

to contact Zondlo on her 3231 Cell Number regarding the JCP Account.

Furthermore, as discussed further below, although it was not necessary for Allied

to have prior express consent to contact Plaintiff on her landline number, it is clear

that Plaintiff provided this number to Synchrony for both the GAP and JCP

Accounts.




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      D.    Zondlo Did Not Revoke Her Prior Express Consent to be
            Contacted at the Subject Telephone Numbers.
            After a defendant establishes the existence of prior express consent,

the burden shifts to a TCPA plaintiff to prove that such consent was revoked.

Saulsberry v. Meridian Fin. Servs., Inc., 2016 WL 3456939, at *11 (C.D. Cal. Apr.

14, 2016) (“while defendants have the burden to prove initial prior consent,

plaintiffs have the burden to prove that such consent was revoked.”) While courts

have maintained that a consumer may revoke consent to be called through any

means, see Gager v. Dell Fin. Servs., LLC, 727 F.3d 265, 270 (3d Cir. 2013),

“consent is [only] terminated when the actor knows or has reason to know that the

other is no longer willing for him to continue the particular conduct.” Gager, 727

F.3d at 271 (internal quotations omitted); Schweitzer v. Comenity Bank, 158 F.

Supp. 3d 1312, 1315 (S.D. Fla. 2016) (same). Therefore, for a consent revocation

to be valid under the TCPA, it must be clear and unequivocal. Schweitzer, 158 F.

Supp. 3d at 1315 (holding that a request to call during specific time period was an

ineffective revocation of consent under the TCPA). The FCC itself has agreed that

a revocation must be “clear”:

            We, therefore, find that the consumer may revoke his or her
            consent in any reasonable manner that clearly expresses his or
            her desire not to receive further calls, and that the consumer is
            not limited to using only a revocation method that the caller has
            established as one that it will accept.




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Id. at 7996 ¶ 70 (emphasis added). In this case, Zondlo is incapable of making

such a showing here, where (1) any alleged revocation made by Zondlo to

Synchrony was specific to a third account not placed with Allied and not the

subject of the telephone calls at issue; (2) Zondlo concedes that she never

communicated with Allied either by phone or in writing to revoke consent to be

called; and (3) Zondlo did not “revoke” consent to be communicated on her then

landline telephone number.

             1.     The Undisputed Facts Demonstrate That Zondlo Did Not
                    Clearly Revoke Consent to be Contacted by Allied.

             Because Zondlo admittedly did not ever directly communicate to

Allied to stop calling her (discussed further below), Zondlo’s entire claim against

Allied is predicated on a telephone call she placed to Synchrony – not Allied – on

October 7, 2015, regarding a third account – her American Eagle Outfitters

(“AEO”) account. This AEO Account, however, was never placed with Allied for

collection. (See Ex. A, Koehler Dec. ¶¶ 3 and 8.)

             Specifically, on or about October 7, 2015 (after the subject calls from

Allied had begun), Zondlo, who already was represented by counsel, placed a call

directly to Synchrony on her AEO Account, not the JCP Account or Gap Account.

(See 10/7/2015 Call Transcript, attached to Stmt. of Facts as Ex. G.) In the call,

Zondlo stated, in relevant part, as follows:




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      Zondlo:            … Will my account accrue interest if I don’t pay it?
      Synchrony/AEO: If you don’t pay the 292.44?

      Zondlo:            Correct.

      Synchrony/AEO: Yes.

      Zondlo:            Yes, okay, thank you. And what is the balance on my
                         account?

      Synchrony/AEO: 292.44

      Zondlo:            Okay, thank you. You no longer have my permission to
                         call me or my spouse at any phone number regarding any
                         accounts.

      Synchrony/AEO: Okay, that’s fine.
      Zondlo:            But I do - - but I do want to make sure you have my
                         correct mailing address * * * in case you need to get in
                         touch with me.
      [Confirms mailing address.]

      Synchrony/AEO: And then we have your e-mail address. And it’s C-H- -
      Zondlo:            Okay. That’s all I need you to have. Thanks.

            The words used by Zondlo during the call were provided by her

counsel – the same counsel representing Zondlo in this case. She was instructed to

read “word for word” from the script, which was intended to be read only to the

“original creditor” and not to a debt collector (such as Allied). (See Exhibit F,

Script; see also Exhibit G, 10/7/2015 Call Transcript.) Indeed, the “debt collector”

portion of the script is crossed out. (See id.) Demonstrating that she was merely




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reading from this script, Zondlo in her call referenced “my spouse,” even though

she had been divorced since 2007. (See Ex. B, Zondlo Dep., 15:17-25.)

            Zondlo documented this October 7th call to Synchrony in a form

provided by her counsel, which specifically indicated the Creditor/Collector being

called as: “American Eagle Credit Card.” (See Ex. F, Script.) Zondlo noted the

telephone number she had called (866-913-8479), the balance on the account

($292.44), and the account number (ending in x9305). (See id.) All of this

information (the telephone number Zondlo called, the account balance, and the

account number) pertained only to the AEO Account with Synchrony, and not the

Gap or JCP Accounts subject to Allied’s collection calls. Even further, Zondlo

testified at her deposition in this case that she did not specifically identify or

reference the Gap and JCP Accounts during that call.

      Q:    Would you also agree with me that during [the 10/7/2015 phone
            call to Synchrony] you didn’t specifically identify which other
            accounts they could not call you on, you just said all of my
            accounts, correct?

      A:    Yes. Correct.

      Q:    So in essence you didn’t specifically reference the JCPenney
            account or the Gap account, you just said my other accounts,
            correct?

      A:    Yes.

(See, Ex. B, Zondlo Dep., 82:15-23.)




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             In response to Zondlo’s October 7th call on the AEO VISA Account,

Synchrony placed a notation in the AEO VISA account records that Zondlo should

not be contacted by cell phone or automated dialer. (See Ex. A, Koeher Dec. at ¶

8.) Synchrony, however, did not place any such notation on either the GAP

Account or the JCP Account.        There is no evidence that Synchrony informed

Allied about any purported denial of mobile consent with respect to the GAP

Account previously placed with Allied in September, 2015.       Nor did Synchrony

indicate any denial of mobile consent to Allied when later placing the JCP Account

with Allied on October 15, 2015. Synchrony concedes that this information was

not provided to Allied, “because Ms. Zondlo’s AEO Visa account was not placed

with collection with Allied Interstate.” (Id.)

             As demonstrated by these facts, Zondlo simply did not communicate

any revocation of consent – either to Synchrony or to Allied – to be called in

connection with her GAP and JCP Accounts. Instead, she apparently was advised

by her counsel to call Synchrony only – not Allied – and only on her AEO VISA

Account. To the extent she intended to revoke consent on her GAP or JCP

Accounts, she could have very easily done so. She chose not to. Under these

circumstances, there is no set of facts in which a fact-finder could find a clear and

unambiguous revocation as to the GAP and JCP Accounts, which were serviced




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separately by Synchrony and accessed separately by Zondlo (e.g., to pay bills), and

as to Allied.

                2.    Zondlo Did Not Communicate Any Revocation to Allied, And
                      Allied Cannot be Held Liable For an Alleged Revocation
                      Communicated to Synchrony.

                That there is no revocation sufficient to find Allied liable under the

TCPA is further evidenced by the fact that Zondlo never spoke with Allied to

revoke consent. Zondlo readily conceded this at her deposition:

      Q:        Do you ever recall a conversation with Allied where you
                revoked consent for phone calls?

      A:        I do not.

                                   *    *      *

      Q:        During [the 10/7/2015 phone call to Synchrony], you would
                agree with me that you didn’t specifically identify which cell
                phone numbers that Synchrony was not to call, correct?

      A:        Yes, that’s correct.
      Q:        Other than [the 10/7/2015 phone call to Synchrony], do you
                remember any other calls to Synchrony?
      A:        I do not.

(See Ex. B, Zondlo Dep., 9:2-4, 82:8-83:1.)

                Zondlo had every opportunity to tell Allied that she wished calls to

stop, but did not do so. For example, on October 19, 2015, Zondlo returned a call

from an unknown number and was informed that she had reached Allied. (See Ex.

H, 10/19/2015 Call Transcript; Ex. B, Zondlo Dep., 109:25 – 111:2.) During this


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call, it was discussed that Zondlo was receiving calls on her 3231 Cell Number

from Allied with respect to her JCP Account and that Allied was placing these

calls as a third party debt collector on behalf of Synchrony. (Zondlo at no time

mentioned any calls being placed to her by Allied to her 9301 Landline Number

with respect to the GAP account.) (See Ex. H, 10/19/2015 Call Transcript.)

Zondlo stated “the purpose of [her] call was just to see who was calling [her]” and

that she would give them a call back at a later time. She then hung up. (See Ex. B,

Zondlo Dep., 113:8-12.) Zondlo did not call Allied back as she had promised.

(See id., 113:17-20.) At no time during the October 19th call to Allied did Zondlo

direct Allied to stop calling her; advise that Allied’s calls were harassing or

inconvenient; or state that they did not have permission to call her. (See id.,

113:23 – 114:10.)

             The only other contact between Zondlo and Allied occurred several

months later, on January 14, 2016, when Zondlo returned a call from Allied, but

hung up after the representative identified that the Zondlo had reached Allied.

(See Exhibit I, 1/16/2016 Call Transcript.)

             Although Zondlo testified in her deposition that she wanted calls from

Allied to stop, her actions suggested otherwise. She continued to receive calls

from Allied – which she had learned related to one of her Synchrony accounts – for

over three months before the calls ceased at the end of January, 2016. At no time


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did she communicate any indication to Allied that it did not have permission to call

her, or that she had previously revoked consent to Synchrony. There simply is no

evidence that any revocation, in any form, was ever communicated to Allied.

            Finally, any alleged revocation to Synchrony cannot be binding on

Allied. Plaintiff cannot demonstrate any basis to hold Allied liable for an alleged

revocation communicated directly to Synchrony. Specifically, while      knowledge

may be imputed from a creditor to its agents, such knowledge cannot be imputed to

debt collectors – who are considered independent contractors – unless there is

evidence that the creditor furnished the debt collector with such knowledge.

Randolph v. IMBS, Inc., 368 F.3d 726, 729-730 (7th Cir. 2004) (debt collection

agency did not violate the FDCPA rules against contacting debtors represented by

counsel even though such information was in the creditor’s files because there was

no evidence that the information was shared with the debt collector); see also

Martinez v. Johnson, No. 2:11-cv-157-DN, 2013 WL 1031363, *7 (D. Utah Mar.

14, 2013) (Debt collectors are independent contractors and, contrary to a creditor’s

agents, are not presumed to know everything known to the creditor absent evidence

such information was communicated to the debt collector). Here, Plaintiff has

produced no evidence whatsoever to demonstrate either (a) that Allied was an

agent of Synchrony or (b) that her alleged revocation to Synchrony was




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communicated, in any way, to Allied. As such, the alleged revocation cannot be

binding on Allied.

               3.    Zondlo Did Not Revoke Consent to be Called on Her Landline
                     Number.

               Zondlo apparently contends that following the alleged October 7th

“revocation” to Synchrony as to her AEO VISA Account, Allied no longer had

permission to contact her on her 9301 Landline Number after it was “ported” to a

wireless network sometime in November, 2015. While a creative way to attempt

to prop up her purported TCPA claims in this case, Zondlo’s theory must be

rejected for several reasons.

               First, Zondlo previously had provided the landline number to

Synchrony and never effectively revoked consent to be called on that number for

the JCP and GAP Accounts. Thus, Allied was entitled to continue placing calls to

the 9301 Landline Number using an ATDS (although Allied does not concede it

used an ATDS) even after Zondlo “ported” the landline number to a wireless

network. There is no dispute that after the number was “ported” sometime in

November, 2015, Zondlo did not ever attempt to revoke consent to be contacted at

that number.

               Second, even if the October 7th call to Synchrony somehow could be

construed as a revocation of consent that could somehow be imputed to Allied

(which Allied disputes), that revocation only would apply to calls made to


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Zondlo’s cellular telephone, and not the number that at the time was associated

with a landline, but later was “ported” to a wireless network. Research has not

revealed any authority for the proposition that a consumer can for purposes of the

TCPA orally revoke consent to be contacted on a landline telephone number. The

Fair Debt Consumer Practices Act, 15 U.S.C.A. §1692(c), more generally provides

a method by which a consumer can demand in writing that a debt collector cease

all further communication. However, there is no dispute that Zondlo did not send

any such written communication, either to Synchrony or to Allied, asking that all

communications cease. Thus, Zondlo simply never acted in a way to direct that

calls cease to her landline number in connection with the GAP and JCP Accounts.

            Accordingly, even if Zondlo’s purported revocation on October 7,

2015, were deemed to apply to the 3231 Cell Number – a conclusion which Allied

disputes – there was clearly no revocation with regard to the 9301 Landline

Number.

      E.    Zondlo Has No Standing to Maintain Any Claim Where She Has
            Sustained No Injury in Fact, and Where She is Not Within The
            Zone of Interests Protected by The TCPA.
            Zondlo has failed to meet her burden to prove that she suffered any

injury in fact in connection with receiving calls from an alleged “auto-dialer” from

Allied, and she therefore lacks standing to bring this claim. The Court in Ewing v.




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SQM US, Inc., Case No. 3:16-cv-1609-CAB-JLB, 2016 WL 5846494 (S.D. Ca.

Sept. 29, 2016), aptly set forth the standard for constitutional standing as follows:

      The standing to sue doctrine is derived from Article III of the
      Constitution’s limitation of the judicial power of federal courts to
      “actual cases or controversies.” Spokeo v. Robins, 136 S.Ct. 1540,
      1547 (2016) (citing Raines v. Byrd, 521 U.S. 811, 818 (1997)). “The
      doctrine limits the category of litigants empowered to maintain a
      lawsuit in federal court to seek redress for a legal wrong.” Id. “[T]he
      ‘irreducible constitutional minimum’ of standing consists of three
      elements. The plaintiff must have (1) suffered an injury in fact, (2)
      that is fairly traceable to the challenged conduct of the defendant, and
      (3) that is likely to be redressed by a favorable judicial decision.” Id.
      (citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992)).

      The first element, injury in fact, “is a constitutional requirement, and
      ‘it is settled that Congress cannot erase Article III’s standing
      requirements by statutorily granting the right to sue to a plaintiff who
      would not otherwise have standing.’” Spokeo, 136 S.Ct. at 1547-48
      (quoting Raines, 521 U.S. at 820, n.3). “To establish injury in fact, a
      plaintiff must show that he or she suffered ‘an invasion of a legally
      protected interest’ that is ‘concrete and particularized’ and ‘actual or
      imminent, not conjectural or hypothetical.’” Id. at 1548 (quoting
      Lujan, 504 U.S. at 560). “‘For an injury to be particularized,’ it ‘must
      affect the plaintiff in a personal and individual way.’” Id. (quoting
      Lujan, 504 U.S. at 560, n.1). Meanwhile, “[a] ‘concrete’ injury must
      be ‘de facto’; that is, it must actually exist.” Id. (citing Black’s Law
      Dictionary 479 (9th ed. 2009)). Therefore, a plaintiff does not
      “automatically satisf[y] the injury-in-fact requirement whenever a
      statute grants a person a statutory right and purports to authorize that
      person to sue to vindicate that right. Article III standing requires a
      concrete injury even in the context of a statutory violation.” Id. at
      1549. A “bare procedural violation, divorced from any concrete
      harm,” does not satisfy the injury-in-fact requirement of Article III.
      Id.

Ewing, 2016 WL 5846494 at *1-2.         In addition, prudential standing requires that

(1) a litigant assert his or own legal interests rather than those of third parties; (2)

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courts refrain from adjudicating abstract questions of wide public significance

which amount to generalized grievances; and (3) a litigant demonstrate that her

interests are arguably within the zone of interests indented to be protected by the

statue, rule or constitutional provision on which the claim is based. Stoops v.

Wells Fargo Bank, N.A., 197 F. Supp. 3d 782, 803-804 *13 (W.D. Pa. 2016)

(citing UPS Worldwide Forwarding v United States Postal Serv., 66 F.3d 621, 625

(3d Cir. 1995)).

             In enacting the TCPA, Congress’s intent “was to protect consumers

from the nuisance, invasion of privacy, cost, and inconvenience that autodialed and

prerecorded calls generate.” See Stoops, 197 F. Supp. 3d at 797 (citing In re Rules

Implementing the Tel. Consumer Prot. Act. of 1991, 30 FCC Rcd. at 7979-80). In

passing the Act, Congress “was animated by outrage over the proliferation of

prerecorded telemarketing calls to private residences, which consumers regarded as

an intrusive invasion of privacy and a nuisance.” Id.; see also Gager, 727 F.3d at

271 (stating that “the TCPA is a remedial statute that was passed to protect

consumers from unwanted automated telephone calls”) (emphasis added). In this

case, however, Zondlo cannot establish either constitutional or prudential standing,

because Allied’s calls “[did] not adversely affect the privacy rights that [the

TCPA] is intended to protect” see Stoops at *11, and because Zondlo’s interests

are not within the zone of interests intended to be protected by the TCPA. Id. at


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*15. The evidence demonstrates that these were not unwanted calls, but that

instead Zondlo, with the assistance of counsel, intended to manufacture a violation

of the TCPA to solve her financial difficulties and that she had no intention to

attempt to stop the calls she was receiving from Allied.

             More specifically, as discussed in detail above, it is significant that

Zondlo was represented by counsel throughout the time period relevant to this

case, and was advised by counsel with respect to the events that created the alleged

TCPA violation. She was given specific instructions on who to call (Synchrony,

and not Allied, given that the instructions for the “debt collector” were crossed

out), and on what account (AEO VISA, but not GAP or JCP). She followed those

instructions “word for word.” Had Zondlo truly wanted calls to cease as to all of

her accounts, she very easily could have called the separate telephone numbers for

her GAP Account and JCP Account – just as she separately paid her bills on those

accounts – to advise Synchrony that it no longer had permission to contact her on

those accounts. But, she admittedly did not do so. She also had every opportunity

to direct Allied to stop calling her – including during a telephone call with Allied

on October 19, 2015, only a few days after Allied’s collection calls began. But,

she admittedly did not do so. Even though she learned during her October 19th call

with Allied that Allied was calling her on behalf of Synchrony and in connection

with the JCP Account, she did not communicate any revocation to Allied and did


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not communicate any displeasure in receiving the calls. She also could have

answered any of the calls she was receiving from Allied from approximately

September, 2015, through January, 2016, to revoke her consent.             Again she

admittedly did not do so. Instead, she sat back for several months simply logging

the calls from her “missed call” lists until Synchrony sold the accounts and the

calls stopped. Notably, most of the calls were made to Zondlo’s 9301 Landline

Number that she admittedly used only for telemarketers and people “she doesn’t

know.”

             Ultimately, it is crystal clear that Zondlo was not injured as a result of

her allegations. In fact, with regard to her “injuries” that Zondlo has the burden of

proving to be “particularized” and “concrete,” her own testimony fails to provide

the requisite support. More specifically, Zondlo admitted she did not obtain any

medical assistance, medication, or mental health or psychiatric counseling or

treatment. (See Exs. B, Zondlo Dep., 115:10-20; see also id., at Ex. Zondlo-1, p.3-

4, ¶¶ 12-15.) She further admitted that she did not actually pick up any of the calls

placed by Allied (see Ex. B, Zondlo Dep., 115:21-24) and could not even identify

which entity, including Allied, the phone numbers on her Call Log belonged to.

(See id., 91:21 – 92:4, 108:2-16, 115:3-9.)

             Zondlo also agreed that her alleged damages would have been the

same had the calls been placed from a rotary phone (see id. 116:15 – 117:2), which


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was the benchmark used by the court in Ewing to determine that the plaintiff in

that case was not injured as a result of the alleged actions of the defendant. Ewing,

2016 WL 5846494 at *1-2 (Plaintiff lacks standing to make a claim under the

TCPA where he did not suffer an injury in fact traceable to the defendant’s use of

an ATDS that would be any different than if the defendant manually dialed his

number); see, e.g., Romero v. Dep’t Stores Nat’l Bank, 199 F. Supp. 3d 1256 (S.D.

Cal. 2016). Unlike in this case, where Zondlo has not demonstrated any injuries

beyond statutory damages under the TCPA, the plaintiff in Romero had attempted

to meet the standing requirement by arguing that the 290 calls placed to her cell

phone caused her “anxiety, stress, headaches, back, neck and shoulder pain,

sleeping issues, anger, embarrassment, humiliation, depression, frustration, shame,

lack of concentration, dizziness, weight loss, nervousness and tremors, family and

marital problems that required counseling, amongst other injuries and negative

emotions.” Id. at 1259. The Romero court, however, rejected that such allegations

demonstrated any injury in fact sufficient to establish standing, because the

plaintiff failed to trace any of these claimed injuries with any specific telephone

call. Moreover, the court reasoned that:




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      Defendants here were creditors of Plaintiff and were attempting to
      collect a debt. They were calling Plaintiff's cell phone because that
      was the only telephone number she provided them. Although these
      calls seeking to collect debts may have been stressful, aggravating,
      and occupied Plaintiff's time, that injury is completely unrelated to
      Defendants' use of an ATDS to dial her number. Plaintiff would
      have been no better off had Defendants dialed her telephone
      number manually.

Id. at 1265 (emphasis added). In this matter, Zondlo has not proffered any

evidence concerning any emotional, physical, or mental distress sustained as a

result of the calls, either in the aggregate or individually. Nor has Claimant

indicated how she was harmed specifically due to receiving calls from an alleged

ATDS as opposed to calls made from a rotary telephone. Zondlo only offered

vague assertions that the calls constituted “harassment” and that there were “a lot

of calls”. (See Ex. B, Zondlo Dep., 114:18 – 115:1.) Zondlo would have still had

to expend the same amount of time and energy answering and addressing calls that

were manually dialed. See Ewing, 2016 WL 5846494 at *3.

             In sum, because Zondlo has utterly failed to connect any injury at all

to the specific calls she received, and cannot establish that she is within the zone of

interests intended to be protected by the TCPA, she lacks both constitutional and

prudential standing to assert these TCPA claims.




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VI.          CONCLUSION
             For all of the reasons stated above, summary judgment should be

granted in favor of Allied.

                                   Respectfully submitted,

                                   /s/ Andrew K. Stutzman
                                   Andrew K. Stutzman
                                   Brandon R. Gamble
                                   Stradley Ronon Stevens & Young, LLP
                                   2005 Market Street, Suite 2600
                                   Philadelphia, PA 19103
                                   Phone: (215) 564-8000
                                   Facsimile: (215) 564-8120

                                   Attorneys for Defendant,
                                   Allied Interstate LLC




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                           CERTIFICATE OF SERVICE

            I, Brandon R. Gamble, hereby certify that on May 12, 2017, I caused

the foregoing Motion for Summary Judgment, Statement of Undisputed Material

Facts, Brief in Support thereof and accompanying exhibits, to be electronically

filed via the Court’s ECF system. The foregoing documents are available for

viewing and downloading from the PACER system.

                                    /s/ Brandon R. Gamble
                                    Brandon R. Gamble




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